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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                               PANAMA CITY DIVISION

UNITED STATES OF AMERICA

v.                                                                  CASE NO. 5:21cr35-TKW

MARCEL JEAN MICHAUD, et al.

      NOTICE REGARDING ADMISSION TO PRACTICE AND ELECTRONIC FILING
                             REQUIREMENT

To:     Donald Dickinson
        440 W. Galena Boulevard
        Aurora, Illinois 60506

        The above-styled case has been filed in the Northern District of Florida and you

have filed a Notice that FERNANDE MICHAUD is an Interested Party in the case. Our

records indicate, however, that you are not admitted to the bar of this District or that you

are not registered to file electronically in this District. Please refer to N.D. Fla. Loc. R.

11.1 which is available on our website.

        Registration for admission is available on our website:

http://www.flnd.uscourts.gov/attorney#admission. You must complete the admission

requirement to be added to the case as counsel for the Interested Party. If you have any

questions regarding attorney admission procedures please contact the Attorney

Admission Clerk, Erica Smith at Erica_L _Smith@flnd.uscourts.gov.



                                               JESSICA J. LYUBLANOVITS
                                               CLERK OF COURT


May 25, 2022                                    s/ Paula Cawby
DATE:                                          Deputy Clerk:
